     Case 1:15-cr-00142-EAW-MJR Document 1477-1 Filed 12/11/18 Page 1 of 1



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                        Plaintiff,

v.                                                               Case No. 15-CR-142-007-EAW

JASON WILLIAMS,

                        Defendant.


                                     ATTORNEY DECLARATION

                I, ROBERT C. SINGER, ESQ., make this Declaration under penalty of perjury

pursuant to 28 U.S.C. § 1746:


                1.      I am an attorney at law duly licensed to practice in the State of New York

and this Court and am the Owner of Singer Legal PLLC, attorneys for the Defendant. I have

worked on this matter extensively; therefore, I am fully familiar with the facts set forth herein. I

submit this declaration in support of defendant Jason Williams’s motion to seal.


                2.      There is information contained in Exhibit K to defendant’s sentencing

memorandum that a witness was unwilling to provide to the Court unless the information was filed

under seal. Therefore, the defense respectfully requests that it be filed under seal.

Dated: December 10, 2018
       Williamsville, New York

                                        SINGER LEGAL PLLC
                                        Attorneys for Defendant Jason Williams

                                        By:       s/ Robert C. Singer, Esq.
                                                  Robert C. Singer, Esq.
                                              52 South Union Road, Suite 201
                                              Williamsville, New York 14221
                                              (716) 222-3288
                                              rob@singerlegalpllc.com
